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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                               4:18CR3127

       vs.
                                                           DETENTION ORDER
YASMIENE RAEVONNE BLANTON,

                     Defendant.


      Defendant was previously released on conditions. A Petition was filed
alleging she violated the terms of that release by failing to submit to scheduled
drug testing, presenting diluted samples, failing to check in this her supervising
officer as scheduled, and failing to obtain a treatment evaluation. A hearing will be
held on those allegations.

      However, Defendant tested positive for illegal drugs today when she
appeared for the initial appearance on the pretrial petition. An amended petition
has been filed (Filing No. 36), and based on Defendant’s positive drug test and her
admissions of drug use, the court finds Defendant cannot be trusted to comply with
the conditions of pretrial supervision. As such Defendant’s release would pose a
risk of harm to the community.

      Accordingly,


      IT IS ORDERED:


      1)    A hearing on the allegations in the petition will be held on February
21, 2019 at 2:00 p.m. in Courtroom 2, Robert V. Denney Federal Building, 100
Centennial Mall North, Lincoln, NE before Magistrate Judge Cheryl R. Zwart.
Defendant, her counsel, and counsel for the government shall attend the hearing.
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        2)   The defendant is committed to the custody of the Attorney General or
a designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable opportunity
to consult privately with defense counsel. On order of United States Court or on
request of an attorney for the Government, the person in charge of the corrections
facility must deliver the defendant to the United States marshal for a court
appearance.


      February 14, 2019.
                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge




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